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UNITED STATES DISTRICT COURT FOR THE RECEIVED & FILED 25

DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

Plaintiff,

RAFAEL NAVARRO-ADAMES,

Defendant.

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Violation:

(COUNT ONE)
Title 8, United States Code, Section 1325(a)

INFORMATION

The United States charges:

COUNT ONE
Illegal Entry

(Title 8, United States Code, Section 1325(a))

On or about November 10, 2022, in this District of Puerto Rico and within the jurisdiction

of this Court, the defendant,

RAFAEL NAVARRO-ADAMES

who is an alien as the term is defined in ‘Title 8, United States Code, Section 1101(a)(3), did

knowingly and illegally attempt to enter the United States.

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Allin violation of Title 8, United States Code, Section 1325(a)(1) and (a)(2).

W, STEPHEN MULDROW
United States Attorney

Jwih

Max Pevez-Bouret
Assistant United States Attomey, Chief
Tyansnational Organized Crime Section

Addr
Maria L, Montafiez-Concepcién
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Asaidtunt United States Attorney

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